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                              UNITED STATES BANKRUPTCY COURT
                               WESTERN DISTRICT OF MICHIGAN
                                     SOUTHERN DIVISION


IN RE:
                                                   Case No. 20-00325-swd
INTERLOGIC OUTSOURCING, INC.,            1         Hon. Scott W. Dales
                                                   Chapter 11
                         Debtors.                  (Jointly Administered)


         ORDER APPROVING STIPULATION FOR THIRD CONTINUANCE OF FINAL
            EVIDENTIARY HEARING ON MOTION FOR RELIEF FROM STAY

          Wells Fargo Bank, N.A., Interlogic Outsourcing, Inc., IOI Payroll Services, Inc., IOI West,

Inc., Lakeview Holdings, Inc., Lakeview Technology, Inc., ModEarn, Inc., and TimePlus Systems, The

Official Committee of Unsecured Creditors, and KeyBank National Association, having filed their

Joint Motion to Approve Third Stipulation for Continuance of Final Evidentiary Hearing on Motion

for Relief From Stay (“Joint Motion”). The Court, having examined said Joint Motion, and being duly

advised in the premises, now finds that said Joint Motion should be granted.

          IT IS, THEREFORE, ORDERED that the Final Evidentiary Hearing on Motion for

Relief From Stay is adjourned to June 4, 2020 at 11:00 AM, in Kalamazoo, Michigan.

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 The Debtors include: Interlogic Outsourcing, Inc., Case No. 20-00325-swd; IOI Payroll Services, Inc., Case
No. 20-00326-swd; TimePlus Systems, LLC, Case No. 20-00332- swd; IOI West, Inc., Case No. 20-00327-swd;
Lakeview Technology, Inc., Case No. 20- 00330-swd; Lakeview Holdings, Inc., Case No. 20-00329-swd; and
ModEarn, Inc., Case No. 20-00331-swd.




    IT IS SO ORDERED.

    Dated February 26, 2020
